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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                    Plaintiff,                                8:12CR418
      vs.
                                                               ORDER
CHRISTOPHER BATES, TYRONE
FLOWERS, AND QUINCY HUGHES,
                 Defendants.
      Defendant Quincy Hughes has moved to continue the trial currently set for
November 19, 2013. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

IT IS ORDERED:
       1)  Defendant Quincy Hughes’ motion to continue [78] is granted.

      2)     The jury trial of this case is set to commence before the Honorable John
             M. Gerrard, United States District Judge, in Courtroom #1, the
             Special Proceedings Courtroom, of the United States Courthouse,
             Omaha, Nebraska, at 9:00 a.m. on January 27, 2014, or as soon
             thereafter as the case may be called for five trial days.

      3)    Based upon the showing set forth in the defendant’s motion and the
            representations of counsel, the Court further finds that the ends of justice
            will be served by continuing the trial; and that the purposes served by
            continuing the trial date in this case outweigh the interest of the defendant
            and the public in a speedy trial. Accordingly, the additional time arising as
            a result of the granting of the motion, the time between today’s date and
            January 27, 2014, shall be deemed excludable time in any computation of
            time under the requirements of the Speedy Trial Act, because despite
            counsel’s due diligence, additional time is needed to adequately prepare
            this case for trial and failing to grant additional time might result in a
            miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).
Dated this 5th day of November, 2013.
                                               BY THE COURT:
                                               s/ F. A. Gossett, III
                                               United States Magistrate Judge
